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CLYDELYNN MITCHELL § .\\` p:@\ `
PLAINTIFFS, § '
v. § ClVIL ACTION No. 4;15-CV-00131-A
sTATE FARM LLoYDs § JURY DEMAND
DEFENDANT. §

AGREED ORDER OF DISMISSAL WITH PREJUDICE
The Court, after having considered Plaintiffs Coty Mitchell and Clydelynn Mitchell and
Defendants State Farm Lloyds and Laurin Linson’s Joint Stipulation of Disrnissal with Prejudice,
is of the opinion that it should be granted
IT IS THEREFORE ORDERED that Plaintiffs’ claims against Defendant_ State Farm
Lloyds are hereby dismissed with prejudice1

IT IS FURTHER ORDERED that the p `es shall bear their own costs.

   

IT IS SO ORDERED.

/ \
SIGNED this day of 2015.

 

EPRESIDING /

 

1 The claims against Defendant Lanrin Linson were dismissed by Final Judgment on May 28, 2015.

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AGREED AS TO FORM AND CONTENT:

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STATE FARM LLOYDS

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE - Page 2
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